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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                         SAN ANTONIO DIVISION

ADAM MENA on behalf of §
himself and others similarly §
situated,                    §
                             §
           Plaintiffs,       §
v.                           §                         Cause No. 5:15-cv-00083
                             §
J3 OIL & GAS, INC., and      §                         COLLECTIVE ACTION
DISTRIBUTION SOLUTIONS, §
LLC                          §
                             §                              A Jury is Demanded
      Defendants.            §



                 PLAINTIFFS’ ORIGINAL COMPLAINT AND
                         COLLECTIVE ACTION

      Adam Mena, on behalf of himself and others similarly situated, files this

Original Complaint and Collective Action.

       All Plaintiffs bring this collective action against J3 Oil & Gas, Inc. and

Distribution Solutions, Defendants, under the Fair Labor Standards Act of 1938

(FLSA), 52 Stat. 1060, as amended, 29 U.S.C. §201 et seq (1994 ed. And Supp.

III) (“FLSA”).    This is a collective action by Plaintiffs, and others similarly

situated, against their employer.    Plaintiff seeks damage for unpaid overtime,

liquidated damages, injunctive relief, declaratory relief, and a reasonable attorney’s

fee and costs.


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                                     PARTIES

      1.      Plaintiff, Adam Mena, was an “employee” of Defendants, as that term

is defined by the FLSA. During his employment with the Defendant, the Plaintiff

was individually and directly engaged in interstate commerce, and his work was

essential to Defendant’s business. Plaintiff resides in Harris County, Texas.

      2.      Defendant, J3 Oil & Gas, Inc. is a Texas corporation conducting

business in the State of Texas.         Defendant employed Plaintiffs as Sand

Coordinators. With respect to Plaintiffs, Defendant is subject to the provisions of

the FLSA, as they were at all relevant times engaged in interstate commerce or

were part of an enterprise engaged in interstate commerce as defined by 29 U.S.C.

§§203(r) and (s). The work of Defendant involves the actual movement, through

interstate commerce, of supplies and materials necessary for the drilling of oil

wells through the process known as fracking and other means. At the direction of

Defendants, Plaintiffs observed and maintained equipment using sand which was

injected into the well.       Plaintiffs observed the safety practices, made

recommendations, and enforced compliance of Defendants’ safety rules.

Defendants were Plaintiffs’ “employer” as defined in 29 U.S.C. § 203(d).

      3.      Defendant, Distribution Solutions, LLC is a Texas limited liability

corporation conducting business in the State of Texas.        Defendant employed

Plaintiffs as Sand Coordinators. With respect to Plaintiffs, Defendant is subject to


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the provisions of the FLSA, as they were at all relevant times engaged in interstate

commerce or were part of an enterprise engaged in interstate commerce as defined

by 29 U.S.C. §§203(r) and (s).       The work of Defendant involves the actual

movement, through interstate commerce, of supplies and materials necessary for

the drilling of oil wells through the process known as fracking and other means.

At the direction of Defendants, Plaintiffs observed and maintained equipment

using sand which was injected into the well.        Plaintiffs observed the safety

practices, made recommendations, and enforced compliance of Defendants’ safety

rules. Defendants were Plaintiffs’ “employer” as defined in 29 U.S.C. § 203(d).

      4.      Defendants are joint employers of Plaintiffs at all times relevant to

this case. Defendants share a common core of management, owners and operators.

Defendants operate the same business, pay wages to various employees, and

operate out of the same location. The Plaintiffs are employed by both entities.

                             JURISDICTION AND VENUE

      5.      This Court has jurisdiction under the FLSA pursuant to 28 U.S.C.

§1337 and 29 U.S.C. §216(b). At all times pertinent to this Complaint, Defendant

was an enterprise engaged in interstate commerce, purchasing materials through

commerce, transporting final products through commerce, and conducting

transactions through commerce, including the use of phones and/or cell phones,

electronic mail, and the Internet.     At all times pertinent to this Complaint,


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Defendant regularly owned and operated a business engaged in commerce or in the

production of goods for commerce as defined by §3(r) and 3(s) of the Act, 29

U.S.C. §203(r) and 203(s). Additionally, Plaintiffs were individually engaged in

commerce through his use of materials purchased in interstate commerce. The

Plaintiffs’ work was essential to Defendant’s business.

      6.      Venue is proper pursuant to 28 U.S.C. § 1391(b), because Defendant

and Plaintiffs transacted business within Bexar County, Texas, and the events

underlying this complaint occurred within this judicial district.

                            FACTS SUPPORTING RELIEF

      7.      From August of 2014 through January 29, 2015, Defendants

employed Mr. Mena as a sand coordinator. Plaintiff’s duties included maintaining

and operating machinery involved in the fracking of oil wells using sand,

maintaining the proper consistency of the sand, and monitoring the fracking of the

well with sand and other proppants. Plaintiff was involved in making sure proper

safety procedures were followed, walking the job site, visually observing the work

process for safety, issuing permits to conduct work, and checking the work

conditions to make sure they were non-hazardous.

      8.      Plaintiff’s schedule varied based on the need for labor.    Plaintiff

typically worked seven days a week from 6:00 a.m. until 6:00 p.m., but was

frequently required to continue working until the next shift showed up, which


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added approximately 2 – 5 hours per week. Plaintiff would frequently work a

minimum of 12 hours per shift.

      9.      Plaintiff was paid $1,700.00 per week for every week worked,

regardless of hours.

      Allegations Common to all Plaintiffs

      10.     During some or all of the workweeks of their tenure with the

Defendants, Plaintiffs worked in excess of 40 hours per week.

      11.     During the weeks of employment where Plaintiffs worked more than

40 hours, Defendants failed to pay Plaintiffs the overtime premium required by the

FLSA.

      12.     The Defendants did not make a good faith effort to comply with the

overtime provisions contained within the FLSA. The Defendants simply declared

the Plaintiffs exempt and refused to pay overtime or modify its pay practices when

confronted on numerous occasions by Plaintiffs.

      13.     At all times relevant to this case, the Defendants had knowledge of

Plaintiffs’ regular and overtime work. Defendants approved Plaintiffs’ work and

hours. Plaintiffs’ work benefitted Defendants.

      14.     Defendants’ actions were willful and in blatant disregard for

Plaintiffs’ federally protected rights.




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      15.    Defendants are liable to Plaintiffs under the FLSA for all unpaid

wages and overtime compensation as well as for liquidated damages, attorney’s

fees, out of pocket expenses and costs of Court.

      16.    Plaintiffs do not generally have access to Defendants’ records and will

provide additional detail after Defendants have provided records or initial

disclosures have been made, if necessary.

      17.    At all times material to this Complaint, Defendants were the

employers of the Plaintiff, and others similarly situated, and, as a matter of

economic reality, Plaintiff was dependent upon Defendants for his employment.

      18.    Additionally, Plaintiff, and others similarly situated, were individually

engaged in commerce and produced goods for commerce and their work was

directly and vitally related to the functioning of Defendants’ business activities.

aged in the business of Defendant in various localities around the United States.

      19.    All similarly situated “sand coordinators” are classified as “exempt”

by Defendant.

                  FIRST CAUSE OF ACTION: VIOLATION OF THE

                           FLSA OVERTIME PROVISION

      20.    Plaintiffs incorporate all averments of fact into this Cause of Action

for violation of the FLSA overtime provision.

      21.    Throughout the employment of Plaintiffs, and others similarly


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situated, Defendant repeatedly and willfully violated Sections 7 and 15 of the Fair

Labor Standards Act by failing to compensate Plaintiffs at a rate not less than one

and one-half times their regular rate of pay for each hour worked in excess of 40 in

a workweek.

      22.     During one or more workweeks of Plaintiffs’ employment with

Defendant, Plaintiffs, and all others similarly situated, have worked more than

forty (40) hours per week.

      23.     Pending any modifications necessitated by discovery, Plaintiff

preliminarily defines this Class as follows:

      ALL CURRENT OR FORMER EMPLOYEES EMPLOYED BY
      DEFENDANTS FOR THE PREVIOUS THREE YEARS AS SAND
      COORDINATORS ON ANY PROJECT WORKED BY
      DEFENDANTS.

      This action is properly brought as a collective action for the following

      reasons:

      a.      The Collective is so numerous that joinder of all Collective Members
              is impracticable.

      b.      Numerous questions of law and fact regarding the liability of
              Defendants are common to the Collective and predominate over any
              individual issues which may exist. Each putative collective member
              was paid under the same scheme on an hourly basis without provision
              for overtime.

      c.      The claims asserted by Plaintiffs are typical of the claims of the
              Collective Members and the Collective is readily ascertainable from
              Defendants’ own records. The pay practice in violation of the FLSA is
              consistent for all employees employed by Defendants as sand
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              coordinators. A collective action is superior to other available
              methods for the fair and efficient adjudication of this controversy.

      d.      Plaintiffs will fairly and adequately protect the interests of Collective
              Members. The interests of Collective Members are coincident with,
              and not antagonistic to, those of Plaintiffs. Furthermore, Plaintiffs are
              represented by experienced collective action counsel.

      e.      The prosecution of separate actions by individual Collective Members
              would create a risk of inconsistent or varying adjudications with
              respect to individual Collective Members which would establish
              incompatible standards of conduct for Defendant.

      f.      The prosecution of separate actions by individual Collective Members
              would create a risk of adjudications with respect to individual
              Collective Members which would, as a practical matter, be dispositive
              of the interests of the other Collective Members not parties to the
              adjudications or substantially impair or impede their ability to protect
              their interests.

      g.      Defendants acted on grounds generally applicable to the Collective,
              thereby making appropriate final injunctive relief with respect to the
              Collective as a whole.


      24.     For the foregoing reasons, Plaintiff seeks certification of an FLSA

“opt-in” collective action pursuant to 29 U.S.C. §216(b) for all claims asserted by

Plaintiff because his claims are nearly identical to those of other Collective

Members. Plaintiff and Collective Members are similarly situated, have

substantially similar or identical job requirements and pay provisions, and are

subject to Defendants’ common practice, policy or plan regarding employee wages

and hours.



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      25.   The Defendants are obligated by law to pay Plaintiffs, and all others

similarly situated, at a rate of one and one-half times the regular hourly rate for

each hour worked over forty (40) in any workweek.

      26.   Defendants did not pay Plaintiffs, and all others similarly situated, the

overtime rate for hours worked over forty (40).

      27.   As a result of Defendants’ unlawful conduct, Plaintiffs, and all others

similarly situated, are entitled to actual and compensatory damages, including the

amount of overtime which was not paid and which should have been paid at the

proper overtime premium.

      28.   Plaintiffs, and all others similarly situated, further seek liquidated

damages as Defendants’ conduct is in violation of Section 7 of the FLSA, 29

U.S.C. § 207.

      29.   Plaintiffs, and all others similarly situated, also seek compensation of

recoverable expenses, costs of court, expert fees, mediator fees, and out-of-pocket

expense incurred and reasonable and necessary attorney’s fees pursuant to 29

U.S.C. §216(b).

      30.   Plaintiffs have retained the law firm of Ross Law, P.C. to represent

him in this suit. Plaintiffs have entered into a valid contract with Ross Law, P.C.

and have appointed that firm and the undersigned counsel to be his sole agent,

attorney-in-fact, and representative in this suit, exclusive of all other parties,


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including Plaintiffs. To avoid tortious interference with Plaintiffs’ obligations to

his attorneys in this suit, all communications concerning this suit must be made by

Defendants and Defendants’ attorneys solely to and through the undersigned

counsel. Plaintiffs’ contract with and representation by Ross Law, P.C. and the

undersigned attorney gives rise to a claim for reasonable and necessary attorney’s

fees that Plaintiffs are entitled to collect from Defendants pursuant to 29 U. S. C. §

216(b).

                   FIRST CAUSE OF ACTION: VIOLATION OF THE

                       FLSA ANTI-RETALIATION PROVISION

      31.     Plaintiff incorporate all averments of fact into this Cause of Action for

violation of the FLSA anti-retaliation provision.

      32.     Plaintiff Adam Mena complained to Defendants regarding the lack of

overtime at various times during his employment.

      33.     When Defendants discovered the Mr. Mena intended to file this

lawsuit, Defendants terminated Mr. Mena’s employment.

      34.     Mr. Mena was an excellent worker without any form of discipline or

other problems with his work.

      35.     Defendants had no legitimate business reason for termination and

provided Mr. Mena with no reason on the date of termination.




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      36.      Defendants terminated Mr. Mena within hours of discovering that Mr.

Mena intended to hire a lawyer and file this lawsuit.

      37.      The FLSA protects employees from retaliation for complaining,

discussing, or asserting their rights to overtime.

      38.      Mr. Mena has been deprived of his employment and the benefits of

that employment, for which he now sues, including but not limited to lost wages

and other benefits of employment.

      39.      Mr. Mena was required to hire a lawyer to bring these claims and

seeks recovery of reasonable attorney’s fees and costs.

                                    JURY DEMAND

      Plaintiffs demand a trial by jury on all claims that he has asserted in this

Complaint.

                                 PRAYER FOR RELIEF

      Adam Mena, individually and on behalf of all others similarly situated,

demand Judgment against Defendants, jointly and severally, for the following:

      a.       Determining that the action is properly maintained as a collective
               action, certifying Plaintiff as the class representative, and appointing
               Plaintiff’s counsel as counsel for Collective Members;

      b.       Ordering prompt notice of this litigation to all potential Collective
               Members;

      c.       Awarding Plaintiff and Collective Members declaratory and/or
               injunctive relief as permitted by law or equity;


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d.       Awarding Plaintiff and Collective Members their compensatory
         damages, service awards, attorneys’ fees and litigation expenses as
         provided by law;

e.       Awarding Plaintiff and Collective Members their pre-judgment and
         post-judgment interest as provided by law, should liquidated damages
         not be awarded;

f.       Awarding Plaintiff and Collective Members liquidated damages
         and/or statutory penalties as provided by law;

g.       Awarding Mr. Mena and any other individuals who are terminated
         lost wages and other benefits of employment,

h.       Awarding Plaintiff and Collective Members such other and further
         relief as the Court deems just and proper.


                                 Respectfully submitted,

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